                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

Laurie Ortolano,                             )
Plaintiff,                                   )
                                             )
v.                                           )       Civil Action No. 1:22-cv-00326-LM
                                             )
The City of Nashua, et al.,                  )
Defendants.                                  )
                                             )

                                   JOINT DISCOVERY PLAN

       The parties in this action, by counsel and pursuant to Fed. R. Civ. P. 26(f) submit their

Joint Discovery Plan as follows:

                              DATE/PLACE OF CONFERENCE

       The Court has scheduled a Pretrial Conference to take place on February 6, 2023. Counsel

conferred regarding this proposed Discovery Plan by email during January 2023.

                          COUNSEL PRESENT/REPRESENTING

Attorneys for Plaintiff Laurie Ortolano

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                                       CASE SUMMARY

THEORY OF LIABILITY (submitted by plaintiff):

         Plaintiff asserts that the City Defendants conspired to and did violate her First and
Fourteenth Amendment rights in retaliation for her questioning City Official’s conduct and in an
effort to dissuade her from exercising her First Amendment rights to Speech and Petition.
Plaintiff further asserts that certain Defendants defamed her. Finally, Plaintiff asserts that
various Defendants violated her state constitutional rights and committed the tort of Intentional
Infliction of Emotional Distress. In recapping her theory of liability here Plaintiff does not waive
any other claims or theories contained within the Complaint.

THEORY OF DEFENSE (submitted by defendants):

        Defendants deny Plaintiff’s allegations of liability, causation, and damages. Defendants
assert various forms of immunity and other affirmative defenses in their Answers and add that
Plaintiff’s continued public statements, demonstrated in many video recordings of City public
meetings and by her website postings, undercut her argument that her rights were chilled.

       Finally, certain defendants have filed dispositive motions.


DAMAGES (submitted by plaintiff): $2 million


DEMAND:        April 1, 2023

OFFER:         May 1, 2023 (if any offer is made)


JURISDICTIONAL QUESTIONS: None at this time.

QUESTIONS OF LAW:

   1. All legal issues raised by the dispositive motions filed to date.
   2. Whether Plaintiff’s First Amendment rights were infringed under the tests established by
      case law.
   3. Whether Plaintiff’s Fourteenth Amendment rights were infringed under the tests
      established by case law.
   4. Whether Plaintiff can establish a civil conspiracy given the intra-corporate conspiracy
      doctrine and the requirements of Ashcroft v. Iqbal, 566 U.S. 662 (20090.
   5. Whether Plaintiff’s claims are barred by state and federal immunities and privileges.
   6. Whether Plaintiff is entitled to attorneys’ fees and costs.


TYPE OF TRIAL: Jury



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                                           SCHEDULE

TRACK ASSIGNMENT:                STANDARD – 12 MONTHS

TRIAL DATE:                      5/21/24

DISCLOSURE OF CLAIMS AGAINST UNNAMED PARTIES: 6/1/23

AMENDMENT OF PLEADINGS:

       Subject to leave of Court and the requirements of Fed. R. Civ P. 15:

       Plaintiff: 7/1/23             Defendant:      8/1/23

JOINDER OF ADDITIONAL PARTIES:

       Plaintiff: 7/1/23             Defendant:      8/1/23

THIRD-PARTY ACTIONS:                 8/1/23

MOTIONS TO DISMISS:                  5/1/23

DATES OF DISCLOSURE OF EXPERTS AND EXPERTS' WRITTEN REPORTS AND
SUPPLEMENTATIONS:

  Plaintiff:   8/1/23         Defendant:      11/1/23

  Supplementations under Rule 26(e) due: 12/1/23

COMPLETION OF DISCOVERY:

       (1)     Date all discovery complete: 1/5/24
       (2)     Date for completion of discovery on issues for early discovery, if any:     None

MOTIONS FOR SUMMARY JUDGMENT: 1/20/24

CHALLENGES TO EXPERT TESTIMONY: 45 days prior to Trial


                                           DISCOVERY

DISCOVERY NEEDED:

  1. Deposition of parties
  2. Depositions of witnesses to events alleged in Complaint
  3. All writings by Plaintiff regarding, referring, or relating to any of the defendants, any



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      interactions with City employees or officials, any of Plaintiff’s allegations, her public
      comments, and this case.
   4. All communications between the parties.
   5. Plaintiff’s medical, psychological, and psychiatric records, related to her claim for
      intentional infliction of emotional distress.

MANDATORY DISCLOSURES (Fed. R. Civ. P. 26(a)(1)):

       The later of 3/1/23 or 30 days after the resolution of pending dispositive motions.

INTERROGATORIES:

        A maximum of 25 interrogatories by each party to any other party. Responses due 45
days after service unless otherwise agreed to pursuant to Fed. R. Civ. P. 29.

REQUESTS FOR ADMISSION:

       A maximum of 25 requests for admission by each party to any other party. Responses
due 45 days after service unless otherwise agreed to pursuant to Fed. R. Civ. P. 29.

DEPOSITIONS:

       A maximum of 10 depositions by plaintiff and 5 per defendant. Each deposition limited
to a maximum of 7 hours unless extended by agreement of the parties, except that given the
number of parties and length of the Complaint, Plaintiff’s deposition is limited to 14 hours total.

ELECTRONIC INFORMATION DISCLOSURES (Fed. R. Civ. P. 26(f)):

       Plaintiff served a document preservation latter that has been provided to all Defendants.

       Defendants’ electronic documents are stored on City computers. To the extent readily
accessible, responsive documents will located using the keyword “Ortolano.” Other keywords
may be derived from documents exchanged during discovery, to be agreed by the parties.

        Defendants anticipate requesting electronic records from Plaintiff including but not
limited to her email, text messages, other communications, and other documents. Responsive
documents will be located by searching email accounts, computers, and any other readily
accessible devices for each of Defendants’ names, including common misspellings, and any
email, text message, or other communication exchanged with anyone regarding, referring, or
relating to any of the defendants, any interactions with City employees or officials, any of
Plaintiff’s allegations, her public comments, and this case.

       Given the broad scope of the allegations, the parties have agreed that neither side need
produce any of the documents already produced in response to Plaintiff’s RTK requests.

       The parties will exchange PDFs of all documents. To the extent any spreadsheet is



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produced, it would be produced in both PDF and native format. If extensive email production is
required, it may be produced in native PST format.

        The parties agree that the following language shall govern the inadvertent production of
privileged documents:

       Documents that contain privileged information or attorney work product shall be returned
immediately to the producing party and/or deleted from the requesting party’s electronic
document review and/or repository facility, system, or tool if the documents appear on their face
to have been inadvertently produced or timely notice is given of inadvertent production. The
requesting party shall provide prompt notice of its discovery of such documents and shall
provide notice of the return and/or deletion of such documents to the parties. If a receiving party
wishes to challenge whether the documents are in fact privileged, it shall treat the documents in
question as privileged until the parties agree otherwise, or the Court so orders. This section is in
addition and supplementary to the requirements of Federal Rule of Civil Procedure 26(b)(5)(B).

         Any medical information, trademark, copyright, patent, workers’ compensation,
identifiers such as social security, numbers, taxpayer identification numbers, entries into
personnel files containing personal information which may constitute an invasion of privacy, that
are produced in this case may be shared with only counsel, co-counsel, their agents, employees,
and clients along with any expert or potential expert who may be retained or employed by
counsel. No such information will be otherwise shared with anyone, except by leave of the
Court or by mutual agreement of all parties. All such information shall be returned to the source,
without copies, duplicates, in any format, retained; upon the completion or final disposition of
this action. Notwithstanding the foregoing, such information may be withheld subject to usual
discovery privileges and other applicable law.

STIPULATION REGARDING CLAIMS OF PRIVILEGE/PROTECTION OF TRIAL
PREPARATION MATERIALS (Fed. R. Civ. P. 26(f)):

        If needed, the parties anticipate agreeing to a confidentiality agreement, stipulation, or
protective order as to confidential materials.


                                         OTHER ITEMS

SETTLEMENT POSSIBILITIES:

Settlement cannot be evaluated prior to discovery and resolution of preliminary motions..

JOINT STATEMENT RE: MEDIATION:

It is too early to determine whether the parties will agree to mediate. If agreement to mediate is
reached, the parties currently anticipate private mediation. The parties propose updating the
Court as to the status of mediation 90 days prior to Trial.




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TRIAL ESTIMATE:               7 to 10 days

WITNESSES AND EXHIBITS:

   •   Witness and exhibit lists, included in final pretrial statements, are due 10 days before
       final pretrial conference but not less than 30 days before trial.

   •   Objections are due 14 days after filing of final pretrial statements.

PRELIMINARY PRETRIAL CONFERENCE:

       The parties do not request a preliminary pretrial conference with the Court before entry of
the scheduling order.

OTHER MATTERS:

       None at this time.




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Respectfully submitted,

 Laurie Ortolano                            City of Nashua, Michael Carignan, and
 By counsel,                                Frank Lombardi
                                            By counsel,
 OLSON & OLSON, PA
                                            CULLEN COLLIMORE SHIRLEY,
 /s/ Kurt S. Olson                          PLLC
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                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served on all counsel of record through the Court’s

electronic filing system.



Dated: 1/30/23                              /s/ Adam Pignatelli
                                            Adam Pignatelli




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